Case 1:25-cv-10338-AK   Document 6-26   Filed 02/10/25   Page 1 of 6




                        EXHIBIT 26
   Case 1:25-cv-10338-AK     Document 6-26   Filed 02/10/25   Page 2 of 6




                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS


COMMONWEALTH OF
MASSACHUSETTS, et al.,

     Plaintiffs,
                                         Case No. _______________________
                   v.

NATIONAL INSTITUTES OF HEALTH,
et al.,

     Defendants.




                                     1
       Case 1:25-cv-10338-AK          Document 6-26        Filed 02/10/25      Page 3 of 6




                         DECLARATION OF JENNIFER REXFORD

        I, Jennifer Rexford, declare as follows:

        1.      I am the Provost and the Gordon Y.S. Wu Professor in Engineering and Professor

of Computer Science at Princeton University (“Princeton” or the “University”) in Princeton, New

Jersey. I joined Princeton’s Department of Computer Science as a full professor in 2005, became

acting chair of computer science in 2013, and was named chair in 2015. I assumed the role of

Provost in 2023.

        2.      I make this declaration in support of Plaintiffs’ Complaint and Motion for a

Temporary Restraining Order.

        3.      As Provost, I serve as Princeton’s chief academic officer and chief budget officer.

I have personal knowledge of the contents of this declaration, or have knowledge of the matters

based on my review of information and records gathered by Princeton University personnel, and

could testify thereto.

        4.      Princeton is a non-profit educational institution, dedicated to research, teaching,

and service. The University’s longstanding commitment to service is reflected in its informal

motto — Princeton in the nation’s service and the service of humanity — and exemplified by the

extraordinary contributions that our faculty, staff, and students make to society, including through

their groundbreaking research. That research is supported by substantial funding from the federal

government, including the National Institutes of Health (“NIH”).

        5.      In fiscal year 2024, for example, Princeton’s main campus received $252 million

of government grant and contract funding, of which $71 million came from NIH. By the end of

the fiscal year—which ended on June 30, 2024—Princeton had approximately 254 active NIH-

funded awards across the University, many of which were multi-year awards.



                                                   1
       Case 1:25-cv-10338-AK           Document 6-26         Filed 02/10/25     Page 4 of 6




       6.      The funding that Princeton receives from NIH supports research and drives

innovation in many critical fields, including:

               a. Cancer research

               b. Brain and mental health

               c. Heart health

               d. Child wellbeing

               e. Antibiotics and antivirals

               f. Autism research

               g. Machine learning

               h. Genetic engineering (CRISPR)

       7.      Several of Princeton’s many current and pending NIH-funded research initiatives

involve collaborations with New Jersey colleges, universities, or research institutes, including

Rutgers University, Rutgers Cancer Institute of New Jersey, and Rowan University. Prominent

examples include:

               a. The Consortium Cancer Center, through which Rutgers Cancer Institute and

                    Princeton University partner to make “impactful scientific discoveries and

                    clinical progress” in the areas of cancer metabolism, genomics, and metastasis.

                    See https://cinj.org/about-cinj/consortium-cancer-center.

               b. The New Jersey Alliance for Clinical and Translational Science (NJ ACTS),

                    through which Rutgers, Princeton, NJ Institute for Technology (NJIT), and

                    others collaborate to advance “clinical and translational science to develop new

                    therapies and treatments and improve health and health care in New Jersey.”

                    See https://njacts.rbhs.rutgers.edu/about/.




                                                  2
       Case 1:25-cv-10338-AK          Document 6-26       Filed 02/10/25      Page 5 of 6




               c. A collaboration between Princeton and Rutgers “to enhance the understanding

                   of mental health disorders through the lens of computational psychiatry.” See

                   https://pni.princeton.edu/news/2024/princeton-rutgers-collaboration-awarded-

                   16m-research-grant-advance-understanding-mental.

               d. A research collaboration between Princeton University and Rutgers New Jersey

                   Medical School to explore using CRISPR-based technology to detect disease.

       8.      These collaborations promise to deliver on crucial breakthroughs in science

intended to benefit the public. At Princeton, the cost of carrying out these projects exceeds the

federal dollars committed to them, even including indirect cost recovery. But the recovery of

indirect costs at negotiated rates allows Princeton to defray some of the cost associated with such

things as:

               a. Capital equipment replacement of scientific equipment needed for cutting edge

                   research.

               b. Investment in secure data infrastructure to support research, including genomics

                   and other health research.

               c. Support for staffing for research data management to make data from research

                   more accessible to the public.

               d. Construction and outfitting of specialized facilities for biomedical research,

                   including specialized biological labs that conduct cancer research.

         The NIH’s proposal to cut indirect cost rates to 15% would have a substantial negative

impact on the University’s ability to deliver on these important collaborations. The drastic

reduction in indirect cost recovery proposed by NIH may hinder the development of certain




                                                3
       Case 1:25-cv-10338-AK          Document 6-26        Filed 02/10/25      Page 6 of 6




research projects, or impede the progress of a broad swath of research efforts. Naturally, there

would be effects on employment if staffing, including research-related staffing, was impacted.

       I declare under penalty of perjury that the foregoing is true and correct.

              Executed on February 9, 2025 at Princeton, New Jersey.




_____________________________________
Jennifer Rexford, Provost




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